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                          UNITED STATES BANKRUPTCY COURT
                           SOUTHERN DISTRICT OF FLORIDA
                                   MIAMI DIVISION
                                  www.flsb.uscourts.gov
IN RE:                                  Case No. 18-22930-LMI
Mariela C. Roman                        Chapter 7

       Debtor.                     /
                MOTION FOR RELIEF FROM THE AUTOMATIC STAY
            RE: 234 NORTHEAST 3RD STREET, UNIT 1107, MIAMI, FL 33132

Any interested party who fails to file and serve a written response to this motion within 14
days after the date of service stated in this motion shall, pursuant to Local Rule 4001-1(c)
be deemed to have consented to the entry of an order granting the relief requested in the
motion.


       Comes now Nationstar Mortgage LLC d/b/a Mr. Cooper hereinafter referred to as

Nationstar Mortgage LLC d/b/a Mr. Cooper, by and through its undersigned counsel, and moves

this Honorable Court for Relief from the Automatic Stay and in support thereof would show:

       1.   This Motion is brought pursuant to 11 U.S.C., Section 362(d) and Bankruptcy Rule

4001 (a) and Local Guidelines effective June 2, 2008.

       2.   Debtor(s) Mariela Carmen Roman, a single woman filed a Voluntary Petition

pursuant to Chapter 7 of the United State Bankruptcy Code on October 18, 2018.

       3.   Attached are redacted copies of any documents that support the claim, such as

promissory notes, purchase order, invoices, itemized statements of running accounts, contracts,

judgments, mortgages, and security agreements in support of right to seek a lift of the automatic

stay and foreclose if necessary. Nationstar Mortgage LLC d/b/a Mr. Cooper is the holder of the

Note and recorded Mortgage dated January 12, 2006, originally given to Mariela Carmen

Roman, a single woman, and given by BlueTrust Capital, LLC and recorded on January 24,

2006. The mortgage was recorded in the Public Records of Miami-Dade County, Florida, at




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Book 24172, Page 1683. See Exhibit "A" - Copy of Note, Mortgage, Assignment of Mortgage,

and Loan Modification.

        4.    The aforementioned documents give Nationstar Mortgage LLC d/b/a Mr. Cooper a

First Mortgage position on property known as: Condominium Unit No. 1107 In The Loft

Downtown Condominium, According To The Declaration Thereof, Recorded November 23,

2005 Under Clerk's File No. 2005r1220174 In Official Records Book 23989, Page 1281, Of The

Public Records Of Miami-Dade County, Florida, As Amended And/Or Supplemented From

Time To Time. The common address is 234 Northeast 3rd Street, Unit 1107, Miami, FL 33132.

        5.    Debtor(s) Mariela C. Roman is/are indebted to Nationstar Mortgage LLC d/b/a Mr.

Cooper for pre-petition amounts of $197,394.17 and post-petition for the amount of $2,382.94.

See Exhibit "B" - Affidavit of Indebtedness and Exhibit "C" - Indebtedness Worksheet.

        6.    Payments pursuant to the aforementioned Note and Mortgage have been in default as

of the monthly payment due for August 1, 2018 monthly mortgage payment and all payments

thereafter.

        7.    Debtor(s) has/have failed to adequately protect the interest of Movant.

        8.    The post-petition payment address for Nationstar Mortgage LLC d/b/a Mr. Cooper is

8950 Cypress Waters Blvd, Coppell, Texas 75019.

        9.    The real property subject to this motion is claimed as exempt by the Debtor. The real

property has not been abandoned by the Trustee.

        10.   Nationstar Mortgage LLC d/b/a Mr. Cooper estimated value of the property is

$230,500.00. The source of this estimate value of the real property is the county appraiser's just

value which is attached as Exhibit "D".




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          11.   Nationstar Mortgage LLC d/b/a Mr. Cooper is prohibited from commencing or

resuming a foreclosure action in State Court because of the pendency of this Bankruptcy action.

          12.   Undersigned counsel contacted all adverse parties prior to filing this motion for relief

in an attempt to resolve the matter without hearing pursuant to Local Rule 9073-1(D).

          13.   This motion seeks in rem relief only and does not seek in personam relief against the

Debtor.

          Wherefore, Nationstar Mortgage LLC d/b/a Mr. Cooper moves this Honorable Court for

relief from the Automatic Stay and for an Order allowing Nationstar Mortgage LLC d/b/a Mr.

Cooper to pursue its State Court remedies or for any other relief as this Court deems just and

proper.

                                     CERTIFICATE OF SERVICE

       I hereby certify that I am admitted to the Bar of the United States District Court of the
Southern District of Florida and am in Compliance with additional qualifications to practice in this
Court as set forth in Local Rule 2090-1(A).
       I hereby certify that a true and correct copy of the foregoing has been sent via First Class
U.S. Mail or via CM/ECF electronic filing to the following on this 4th day of January, 2019.

Via First Class U.S. Mail Only:
Mariela Roman, Federal Correctional Complex, Coleman Prison Camp, POB 1027, Coleman, FL
33521
Via CM/ECF Electronic Filing Only:
Ross R Hartog, 9130 S Dadeland Blvd # 1800, Miami, FL 33156
United States Trustee, 51 SW First Avenue, Suite 1204, Miami, FL 33130

                                                  /s/Steven G. Powrozek
                                                  Steven G. Powrozek
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